    Case 5:21-cv-00191 Document 86 Filed 03/29/23 Page 1 of 3 PageID #: 944




                        UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT BECKLEY

 HILMA STOVER,
 On behalf of herself and a class                  CIVIL ACTION NO. 5:21-cv-00191
 of similarly situated persons,

               Plaintiff,

        v.

 FLUENT HOME, LLC;
 THE BANK OF MISSOURI;
 ATLANTICUS SERVICES CORP.;
 FORTIVA FINANCIAL, LLC,

               Defendants.



                                    NOTICE OF APPEAL

       Notice is hereby given that The Bank of Missouri (“TBOM”), Atlanticus Services

Corporation (“Atlanticus”), and Fortiva Financial, LLC (“Fortiva”) (collectively, “Lending

Defendants”) hereby appeal to the United States Court of Appeals for the Fourth Circuit. The

Lending Defendants appeal from this Court’s March 15, 2023 Memorandum Opinion and Order

denying the Lending Defendants’ Motion to Compel Arbitration and Dismiss First Amended Class

Action Complaint. (ECF No. 81.)



Dated: March 29, 2023               Respectfully submitted,


                                    /s/ Carrie Goodwin Fenwick

                                    Carrie Goodwin Fenwick
                                    Goodwin & Goodwin, LLP
                                    300 Summers Street, Suite 1500
Case 5:21-cv-00191 Document 86 Filed 03/29/23 Page 2 of 3 PageID #: 945




                          Charleston, WV 25301
                          304-346-7000
                          cgf@goodwingoodwin.com

                          Bryan A. Fratkin (admitted pro hac vice)
                          McGuireWoods LLP
                          800 E. Canal Street
                          Richmond, VA 23219-3916
                          804-775-4352
                          bfratkin@mcguirewoods.com

                          Katherine E. Lehnen (admitted pro hac vice)
                          McGuireWoods LLP
                          800 E. Canal Street
                          Richmond, VA 23219-3916
                          807-775-7887
                          klehnen@mcguirewoods.com

                          Susan E. Groh (admitted pro hac vice)
                          McGuireWoods LLP
                          77 W. Wacker Drive, Suite 4100
                          Chicago, IL 60601-1818
                          312-849-8184
                          sgroh@mcguirewoods.com




                                    2
    Case 5:21-cv-00191 Document 86 Filed 03/29/23 Page 3 of 3 PageID #: 946




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2023, I caused to be filed a copy of the foregoing with

the Clerk of the Court using the Electronic Case Filing (ECF) system, which will send a notice to

all attorneys who have entered an appearance in this matter.



                                             /s/ Carrie Goodwin Fenwick
                                             Carrie Goodwin Fenwick




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